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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-445V
                                          UNPUBLISHED


    VERA VERONICA KELLY,                                        Chief Special Master Corcoran

                         Petitioner,                            Filed: September 16, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Elizabeth Martin Muldowney, Sands Anderson PC, Richmond, VA, for petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

        On March 26, 2019, Vera Kelly filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of a tetanus-diphtheria-acellular pertussis vaccination
administered on January 25, 2017. Petition at 1. Petitioner further alleges that the vaccine
was administered within the United States, that she suffered the residual effects of her
injury for more than six months, and that she has not received an award or settlement of
any civil action for damages for her vaccine-related injury. Petition at 2, 7. The case was
assigned to the Special Processing Unit of the Office of Special Masters.



1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        On April 7, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for a SIRVA. On September 14, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $93,105.44
(consisting of $90,000.00 for pain and suffering, and $3,105.44 for past unreimbursed
expenses). Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees
with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $93,105.44 (consisting of $90,000.00 for pain and suffering, and
$3,105.44 for past unreimbursed expenses in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
VERA VERONICA KELLY,                       )
                                           )
                  Petitioner,              )
                                          )   No. 19-445V (ECF)
v.                                        )   Chief Special Master Corcoran
                                          )
SECRETARY OF HEALTH                       )
AND HUMAN SERVICES,                       )
                                          )
                  Respondent.             )
__________________________________________)

                  RESPONDENT’S PROFFER ON AWARD OF DAMAGES

         On April 7, 2020, respondent, the Secretary of Health and Human Services, filed his Rule

4(c) Report conceding entitlement to compensation in this matter alleging a Shoulder Injury

Related to Vaccine Administration (“SIRVA”). The same day, the Court entered its Ruling on

Entitlement, finding petitioner Vera Veronica Kelly entitled to Vaccine Act compensation.

Respondent now proffers that petitioner receive a compensation award consisting of a lump sum

of $93,105.44 in the form of a check payable to petitioner, Vera Veronica Kelly. 1 This amount

consists of $90,000.00 for pain and suffering and $3,105.44 for past unreimbursed expenses, and

represents compensation for all elements of compensation under 42 U.S.C. § 300aa-15(a) to

which petitioner is entitled. 2

         Petitioner agrees with the proffered award of $93,105.44. 3


1
    Petitioner is a competent adult. No guardianship is required.
2
  Should petitioner die prior to entry of judgment, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.
3
  This proffer does not include any award for attorneys’ fees and costs that may be awarded
pursuant to 42 U.S.C. § 300aa-15(e).
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                                          Respectfully submitted,

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                                          s/Voris E. Johnson, Jr.
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Dated: September 14, 2020




                                      2
